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 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,         )    2:96-CR-00350-WBS
                                       )
12              Plaintiff,             )
                                       )    PRELIMINARY ORDER OF FORFEITURE
13        v.                           )    AND PUBLICATION THEREOF
                                       )    RE: REAL PROPERTY OF
14   HUY CHI LUONG,                    )    DEFENDANT HUY CHI LUONG
          aka "Jimmy Luong",           )
15        aka "Chi Fei", et al.        )
                                       )
16              Defendants.            )
                                       )
17
18        Based upon the guilty verdicts entered October 4, 2006, against
19   defendant Huy Chi Luong and the Court’s order regarding the
20   forfeiture, it is hereby
21        ORDERED, ADJUDGED AND DECREED as follows:
22        1.   Pursuant to 18 U.S.C. § 982(a)(1), defendant Huy Chi Luong’s
23   interest in the following property shall be condemned and forfeited
24   to the United States of America, to be disposed of according to law:
25              a. Real property located at 7825 Skander Way,
                Sacramento, California, Assessor’s Parcel Number
26              051-0383-030, and
27              b.   Real property located at 8853 Dorington
                Court, Elk Grove, California, Assessor’s Parcel
28              Number 116-0820-009.
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 1        2.     The above-listed properties constitute properties involved
 2   in violations of 18 U.S.C. §§ 1956 and 1957 or are traceable to such
 3   property.
 4        3.      Pursuant to   Rule   32.2(b), the Attorney General (or a
 5   designee) shall be authorized to seize the above-described properties.
 6   That the aforementioned properties shall be seized and held by the
 7   United States Marshals Service and/or the Department of Treasury, in
 8   their secure custody and control.
 9        4.     a.   Pursuant to 18 U.S.C. § 982 incorporating 21 U.S.C. §
10   853(n) and Local Rule 83-171, the United States forthwith shall
11   publish at least once for three successive weeks in the Daily Recorder
12   (Sacramento County), a newspaper of general circulation located in the
13   county in which the above-described properties are located, notice of
14   this Order, notice of the Attorney General or Secretary of Treasury’s
15   intent to dispose of the properties in such manner as the Attorney
16   General or Secretary of Treasury may direct, and notice that any
17   person, other than the defendant, having or claiming a legal interest
18   in the above-listed properties must file a petition with the Court
19   within thirty (30) days of the final publication of the notice or of
20   receipt of actual notice, whichever is earlier.
21               b.   This notice shall state that the petition shall be for
22   a hearing to adjudicate the validity of the petitioner's alleged
23   interest in the properties, shall be signed by the petitioner under
24   penalty of perjury, and shall set forth the nature and extent of the
25   petitioner's right, title or interest in the forfeited property and
26   any additional facts supporting the petitioner's claim and the relief
27   sought.
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 1             c.   The United States may also, to the extent practicable,
 2   provide direct written notice to any person known to have alleged an
 3   interest in the properties that are the subject of the Order of
 4   Forfeiture, as a substitute for published notice as to those persons
 5   so notified.
 6        5.   If a petition is timely filed, upon adjudication of all
 7   third-party interests, if any, this Court will enter a Final Order of
 8   Forfeiture pursuant to 18 U.S.C. § 982(a)(1), in which all interests
 9   will be addressed.
10        SO ORDERED this 29th day of November, 2006.
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